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                    UNITED STATES DISTRICT COURT
                    NORTHERN DISTRICT OF GEORGIA
                          ATLANTA DIVISION

RAMONA THURMAN BIVINS,              )
                                    )
      Plaintiff,                    )
                                    )         CIVIL ACTION NO.:
vs.                                 )         1:22-cv-04149-WMR
                                    )
FELICIA FRANKLIN, in her individual )         JURY TRIAL DEMANDED
and official capacities;            )
ALIEKA ANDERSON, in her individual)
and official capacities;            )
GAIL HAMBRICK, in her individual )
and official capacities; and        )
CLAYTON COUNTY, GEORGIA,            )
                                    )
                                    )
      Defendants.                   )

        PLAINTIFF’S CERTIFICATE OF INTERESTED PERSONS

      (1)    The undersigned counsel of record for Plaintiff in this action certifies

that the following is a full and complete list of all parties in this action, including

any parent corporation and any publicly held corporation that owns 10% or more of

the stock of a party:

      a) Plaintiff Ramona Thurman Bivins;

      b) Defendant Felicia Franklin, in her individual and official capacities;

      c) Defendant Alieka Anderson, in her individual and official capacities;

      d) Defendant Gail Hambrick, in her individual and official capacities; and
        Case 1:22-cv-04149-WMR Document 21 Filed 11/29/22 Page 2 of 6




      e) Defendant Clayton County, Georgia.

      (2)    The undersigned further certifies that the following is a full and

complete list of all other persons, associations, firms, partnerships, or corporations

having either a financial interest in or other interest which could be substantially

affected by the outcome of this particular case:

      a) Buckley Beal LLP;

      b) Freeman Mathis & Gary, LLP;

      c) Gregory, Doyle, Calhoun & Rogers, LLC; and

      d) Jarrard & Davis, LLP.

      (3)    The undersigned further certifies that the following is a full and

complete list of all persons serving as attorneys for the parties in this proceeding:

      For the Plaintiff:

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     Respectfully submitted this 29th day of November, 2022.

                                          BUCKLEY BEAL LLP

                                   By:    /s/ Andrew R. Tate
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GAIL HAMBRICK, in her individual )
and official capacities; and         )
CLAYTON COUNTY, GEORGIA,             )
                                     )
                                     )
      Defendants.                    )
                           CERTIFICATE OF SERVICE

      I hereby certify that on November 29, 2022, I served the foregoing

PLAINTIFF’S CERTIFICATE OF INTERESTED PERSONS using the

CM/ECF system which will automatically send e-mail notification to all counsel of

record as follows:

      A. Ali Sabzevari - asabzevari@fmglaw.com
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                                 BUCKLEY BEAL LLP

                           By:   /s/ Andrew R. Tate
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